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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 In Re Flint Water Cases                   No. 5:16-cv-10444-JEL-MKM

                                           HON. JUDITH E. LEVY

                                           MAG. MONA K. MAJZOUB


      NOTICE OF STATE DEFENDANTS’ PROPOSED AGENDA
     ITEMS FOR THE MARCH 12, 2019 STATUS CONFERENCE

       State Defendants ask that the following matters be included on the

 agenda for the March 12, 2019 status conference.

       1.    Case Management Order: A discussion should be held

 during the status conference to update all counsel on the results of the

 in-chambers meeting to finalize the Case Management Order and how

 the Court intends to proceed with respect to the issuance of that Order.

       2.    Requests for Authorizations: Establish a briefing

 schedule to resolve any objections to the medical authorizations sought

 by Defendants.

       3.    Short Form Complaints: Plaintiffs’ Co-Liaison Counsel’s

 Motion for Leave to File an Amended Master Complaint seeks to drop

 various counts and defendants from the litigation. If that Motion is
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 granted, a schedule will need to be established to amend the Short Form

 Complaints to either adopt those changes or to add any additional

 allegations, claims, or defendants.

                                       Respectfully submitted,

                                       /s/Richard S. Kuhl
                                       Richard S. Kuhl (P42042)
                                       Margaret A. Bettenhausen (P75046)
                                       Nathan A. Gambill (P75506)
                                       Zachary C. Larsen (P72189)
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  Dated: February 26, 2019             larsenz@michigan.gov




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                               CERTIFICATE OF SERVICE

         I hereby certify that on February 26, 2019, I electronically filed

 the above document(s) with the Clerk of the Court using the ECF

 System, which will provide electronic copies to counsel of record. A copy

 of this document was sent via U.S. mail to the chambers of Honorable

 Judith E. Levy.

                                                     Respectfully submitted,

                                                     /s/Richard S. Kuhl
                                                     Richard S. Kuhl (P42042)
                                                     Margaret A. Bettenhausen (P75046)
                                                     Nathan A. Gambill (P75506)
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